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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 MICHAEL BRYANT, JOHN
 DRAKE, BECKY KELLEY and
 HERBERT LOWE,
                                Plaintiffs,
        v.                                              1:04-cv-2462-WSD
 VERNON JONES, MARILYN
 BOYD DREW, MORRIS
 WILLIAMS, RICHARD
 STOGNER and JOE STONE in
 their individual capacities and in
 their official capacities,
                              Defendants.



                                        ORDER

      This is an employment discrimination case in which Plaintiffs allege they were

discriminated against on account of their race or retaliated against because of

complaints regarding alleged race discrimination. It is before the Court on a variety

of motions, each of which is discussed below.

      A.     Defendants Jones and Stogner’s Motion to Strike Affidavit of
             Eddie Moody [116]

      Defendants Jones and Stogner move the Court to strike the affidavit of Eddie
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Moody filed in connection with Defendant Jones’s Motion for Protective Order

[81] and the hearing held on the motion on April 27, 2005. They argue the affidavit

should be stricken because (a) the Court at the hearing determined that it would not

consider the affidavit; (b) the affidavit was not timely filed in support of Plaintiffs’

opposition to the Motion for Protective Order; and (c) it was filed in a

manner not contemplated by the Federal Rules of Civil Procedure. (Def. Jones and

Stogner’s Mem. in Supp. of Mot. to Strike Moody Aff. at 3-7.) Rule 12(f) governs

motions to strike, and provides that “the court may order stricken from any

pleading any insufficient defense or any redundant, immaterial, impertinent, or

scandalous matter.” Fed. R. Civ. P. 12(f). Having reviewed the affidavit, as well

as the arguments set out by Defendants Jones and Stogner in their motion, the

Court finds that Defendants fail to show sufficient grounds for striking the affidavit

from the record under Rule 12(f). Accordingly, their Motion to Strike the Affidavit

of Eddie Moody is DENIED.

       B.     Plaintiffs’ Motion to Quash Defendant Jones’s Subpoena to
              WSB-TV [132]

       Plaintiffs move the Court to quash the subpoena served on non-party

WSB-TV by Defendants. The subpoena in question was served on non-party


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WSB-TV on May 2, 2006. Defendant Jones in his response to Plaintiffs’ motion to

quash states that WSB-TV complied with the subpoena on May 15, 2006, one day

before Plaintiffs’ motion was filed. (Def. Jones’s Resp. to Pls.’ Mot. to Quash

[138] at 3.) Accordingly, Plaintiffs’ Motion to Quash Defendant Jones’s Subpoena

to WSB-TV is DENIED AS MOOT.1

       C.     Defendant Jones’s Motion to Withdraw Motion to Place
              Deposition Under Seal as Moot and Motion for Imposition of
              Sanctions [137]

       On April 22, 2005, Defendant Jones filed his Reply in Support of Motion for

Protective Order and Motion to Place His Deposition Under Seal [101]. On May 2,

2005, the Court entered a verbal order granting in part and denying in part

Defendant Jones’s Motion for Protective Order. The Court expressly reserved

ruling on Defendant Jones’s request that his deposition be placed under seal.

Following Defendant Jones’s May 10, 2005 deposition, and prior to the Court

ruling on the request to place his deposition under seal, counsel for Plaintiffs

provided a videotape of the deposition to WSB-TV. Defendant Jones now moves


       1
         Even if not mooted by WSB-TV’s compliance, the Court finds the
subpoena did not constitute an untimely attempt to obtain discovery and that
Plaintiffs fail to demonstrate sufficient grounds for quashing the subpoena
under Rule 45 of the Federal Rules of Civil Procedure.

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to withdraw as moot his request to place his deposition under seal, and requests the

Court to admonish Plaintiffs’ counsel that the release of the videotape was

improper in light of Defendant Jones’s pending request. (Def. Jones’s Mem. in

Supp. of Mot. to Withdraw at 4-6.)

       Although counsel for Plaintiffs dismisses Defendant Jones’s motion as a

“personal attack” having “no factual or legal basis,” they do not dispute that they

provided a videotape of the deposition to WSB-TV before the Court ruled on the

pending motion to place the deposition under seal. (Pls.’ Resp. to Def. Jones’s

Mot. to Withdraw [141] at 2-3.) In doing so, counsel unilaterally removed from the

Court’s consideration an issue on which it explicitly reserved ruling until after the

deposition was taken. The Court does not dispute the right of counsel in civil

cases to provide information and documents to the media where no order or rule

prohibits the disclosure. But here Plaintiffs’ counsel subverted the Court’s

authority by releasing the videotape before the Court could prohibit it, if the Court

determined that was the proper response to the pending motion.

       In their response to Defendant Jones’s motion, Plaintiffs’ counsel defends

their decision to disclose the videotape on the ground that the disclosure was

necessary to persuade WSB-TV to provide counsel with previously unaired

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footage of Defendant Jones. (Pls.’ Resp. to Def. Jones’s Mot. to Withdraw at 2

n.2.) Plaintiffs’ counsel states that the unaired footage shows Defendant Jones

making statements contradictory to his sworn deposition testimony, and that

WSB-TV refused to voluntarily provide a copy of its unaired footage to counsel

unless it was given a copy of the deposition videotape in exchange. (Id.)

       This candid admission of Plaintiffs’ counsel’s litigating tactics is, to say the

least, disturbing. It is clear that Plaintiffs’ counsel in this case was presented with a

choice of either pursuing voluntary production of footage from WSB-TV or

abiding by their obligation to the Court to refrain from disclosing the videotape until

the Court ruled on Defendants’ request. Regrettably, and in the Court’s view,

irresponsibly, counsel chose the former. What’s worse, the dilemma with which

Plaintiffs’ counsel alleges they were confronted -- disclose the videotape or else fail

to obtain the unaired footage -- was imaginary or contrived. Counsel had at their

disposal a number of tools to obtain the unaired footage from WSB-TV

notwithstanding their lack of willingness to provide it voluntarily, the most obvious

of which is a Rule 45 subpoena. That these tools would not have provided

Plaintiffs’ counsel with the unaired footage as quickly or easily does not excuse

their decision to ignore their professional obligations to the Court, and the justice

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system generally, in favor of horse-trading discovery with WSB-TV.

      Plaintiffs’ counsel’s decision to disclose the videotape of the deposition in

these circumstances constituted, at a minimum, a serious, distorted judgment. The

proper course here would have been to delay disclosure until after the Court ruled

on Defendant Jones’s pending request, or, at the very least, to seek the Court’s

guidance prior to disclosure.

      D.     Plaintiffs’ Motion to Strike Defendants’ Answers and for Other
             Sanctions and, in the Alternative, Motion to Reopen Discovery
             and Stay Consideration of Defendants’ Motions for Summary
             Judgment [219]

      On January 23, 2006, Plaintiffs moved the Court to sanction Defendants

by striking their answers to the Complaint and entering judgment in Plaintiffs’ favor

on their claims for employment discrimination and retaliation (“Pls.’ Mot. to Strike

Defs.’ Answers”). In the alternative, Plaintiffs request the Court to reopen

discovery to permit inquiry regarding recently discovered evidence and evidence

which Plaintiffs contend was unfairly withheld in this case. The Court shall address




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each of these requests in turn.2 3

              1.      Plaintiffs’ Request for Sanctions

       Plaintiffs argue that the sanction of striking Defendants’ answers to the

Complaint is warranted because of Defendants’ alleged willful obstruction of

discovery. (Pls.’ Br. in Supp. of Mot. to Strike Defs.’ Answers at 5-13.)

Specifically, Plaintiffs allege that (1) in a previously filed Georgia Open Records

Act proceeding, representatives for DeKalb County did not accurately represent to

Plaintiffs’ counsel the County’s ability to retrieve and compile certain employee

demographic information in electronic form; and that (2) Defendants mislead

Plaintiffs’ counsel and the Court in this case regarding their ability to retrieve this

same information. (Id.) To support their motion, Plaintiffs rely on the affidavits

of DeKalb County employees Michael Amato and Shae Robinson, and on the

affidavit of Plaintiffs’ counsel. (Id. at Exs. A, B, C.)



       2
         Plaintiffs’ Motion for Oral Argument [220] in connection with their Motion
to Strike Defendants’ Answers is DENIED.
       3
         Plaintiffs filed their Motion to Strike Defendants’ Answers on January 23,
2006. That same day, Plaintiffs filed a second Motion to Strike Defendants’
Answers [221]. This second motion is identical to the first motion (absent
exhibits), and appears to have been filed in error. Accordingly, Plaintiffs’ second
Motion to Strike Defendants’ Answers is DENIED.

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      The Court is not persuaded that sanctions are warranted on these alleged

claims. As an initial matter, the Court declines to consider argument and evidence

related to Plaintiffs’ Open Records Act request or the Open Records Act

proceeding between Plaintiffs’ counsel and DeKalb County representatives in the

Superior Court of DeKalb County. Whether and to what extent County

representatives involved in this proceeding withheld information or misrepresented

the ease with which this information could be retrieved using County software is a

matter for resolution by the state court which presided over that proceeding. The

Court will not consider those portions of the affidavits that address the Open

Records Act proceedings or communications between DeKalb County officials

concerning those proceedings. 4 5


      4
          Evidence and argument regarding the correspondence between the parties
related to Plaintiffs’ Open Records Act request (i.e., the request and the County’s
response to it), along with Mr. Amato’s testimony concerning the PeopleSoft
software, is relevant to Plaintiffs’ request that the Court reopen discovery. Plaintiff
argues that the County’s response to his Open Records Act request incorrectly
advised that certain electronic employee demographic data could not be easily
retrieved, and that he relied on this advisement in determining what information to
request in the case before this Court. (Pls.’ Reply in Supp. of Mot. to Strike
Defs.’ Answers [232] at 7-8.) Because the Court finds that the evidence of the
parties’ correspondence and Mr. Amato’s testimony concerning the PeopleSoft
software’s capabilities -- as opposed to his testimony concerning communications
with DeKalb County representatives -- does not implicate attorney-client privilege

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      With respect to Defendants’ conduct alleged here, the Court finds Plaintiffs

have failed to demonstrate that sanctions are warranted. Rule 37 of the Federal

Rules of Civil Procedure provides that a court may impose sanctions where a party

fails to obey an order to provide or permit discovery. Fed. R. Civ. P. 37(b)(2).

Plaintiffs do not cite the Court to a discovery order with which they allege

Defendants failed to comply. Instead, they argue Defendants and their counsel


issues, this evidence will be considered in connection with Plaintiffs’ request to
reopen discovery.
      5
          Defendants have moved to strike the Amato, Robinson and Morgan
affidavits on the ground that they disclose communications protected by the
attorney-client privilege. (Defs.’ Br. in Supp. of Mot. to Strike Affs. [228] at 7-13.)
The communications at issue were between DeKalb County employees and a
DeKalb County attorney and concerned the appropriate response to Plaintiffs’
counsel’s Open Records Act request. (Id. at 8-10.) The Court already has
determined that the Open Records Act proceedings will not be considered with
respect to the issue of sanctions. Because these communications are not relevant
to the Court’s analysis, and because a determination of whether they are protected
by the attorney-client privilege would further delay these proceedings, the Court in
an abundance of caution will strike Plaintiffs’ Motion to Strike Defendants’
Answers and the attached affidavits of Amato, Robinson and Morgan from the
docket. The Court has not considered the materials requested by Defendants to be
filed under seal in connection with their motion to strike the Amato, Robinson and
Morgan affidavits, and their Motion to Permit the Filing of Declarations Under Seal
[224] is DENIED AS MOOT. Finally, counsel for the parties each request the
other to be sanctioned for alleged violations of the Georgia Rules of Professional
Conduct. If either counsel believes a violation of the Georgia Rules of Professional
Conduct has occurred, and wishes to pursue this matter further, he or she may file
an appropriate complaint with the State Bar of Georgia.

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were not forthcoming regarding their ability to retrieve certain electronic employee

data in their responses to written discovery and their statements to the Court during

an April 27, 2005 hearing. (Pls.’ Br. in Supp. of Mot. to Strike Defs. Answers at

10-13.)

      The Court has reviewed the written discovery requests, the correspondence

between the parties, and, most importantly, the transcript of the April 27, 2005

hearing. These materials do not evidence misconduct or misrepresentations in this

Court on the part of Defendants. It is clear from the Court’s review of these

materials that the focus of the parties’ dispute concerned the proper scope of the

document production sought by Plaintiffs; specifically, whether Plaintiffs could

show a sufficient factual predicate to expand discovery beyond the relevant

employment unit -- the Parks and Recreation Department -- to encompass County-

wide employee demographic data.6 Defendants did not make any representations

concerning their ability to retrieve and summarize the employee demographic

information sought by Plaintiffs using the County’s PeopleSoft software, and



      6
         Plaintiffs do not challenge defense counsel’s representation that County-
wide personnel file information, as it currently exists in document form, constitutes
several hundred boxes of documents.

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Plaintiffs did not expressly raise this issue in their written discovery requests or in

the hearing. Plaintiffs’ counsel argues that his failure to raise this issue at the

hearing is the result of his incorrect belief that employee demographic information

could not be easily retrieved using the PeopleSoft software -- a belief he argues was

the direct result of the DeKalb County representatives’ alleged misrepresentations

during the Open Records Act proceedings. (Pls.’ Reply in Supp. of Mot. to Strike

Defs.’ Answers at 7-8.) Whatever the merits of this argument, it is not sufficient to

demonstrate that sanctions are warranted based on Defendants’ conduct in this

case.7

                      2.    Plaintiffs’ Request to Reopen Discovery

         Having concluded that sanctions are not appropriate, the Court considers

Plaintiffs’ request that the Court reopen discovery to permit additional discovery


         7
         Plaintiffs in their reply brief argue that they did specifically raise the issue
of the PeopleSoft-generated reports in their written discovery, citing language from
their motion to compel arguing that “any documents or communications which
speak to the County’s policy on diversity and affirmative action under the Jones
administration are relevant to Plaintiffs’ claim that Defendants tried to rid DeKalb
County of all upper level white employees.” (Pls.’ Reply in Supp. of Mot. to Strike
Defs.’ Answers at 5) (citations omitted). This argument is without merit. The cited
language is drawn from a brief, not a discovery request, is overly broad and vague,
and refers to existing documents rather than data compilations which Plaintiffs
contend can be produced using Defendants’ software.

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regarding employment decisions outside of the Parks and Recreation Department.

In seeking this additional discovery, Plaintiffs rely on the arguments and evidence

submitted in support of their request for sanctions, as well as evidence of a tape-

recorded conversation between Defendants Stone and Williams. 8

      The Court carefully has reviewed the arguments of counsel for Defendants at

the April 27, 2005 discovery hearing, along with the submissions of the parties on

the current motions. The Court scrutinized most closely the tape-recorded

conversation between Defendants Stone and Williams, which involves a proposed

promotion of several white employees within the DeKalb County Fire and Rescue

Department. 9 The Court has reviewed the transcript of the recording and has

listened to the copy of it filed with the Court. Although the precise implication of




      8
        This evidence was not made available to Plaintiffs until after the close of
discovery in this case.
      9
         Defendants Stone and Williams’s conversation was recorded by Mr.
Amato’s voicemail, presumably as a result of one of these Defendants having
inadvertently dialed Mr. Amato’s telephone number during their conversation. That
the conversation was a candid discussion of the promotion decision and was not
intended to be overheard by others is apparent from the tone and language used by
Defendants Stone and Williams, as well as because at approximately two and a half
minutes into the recording, Defendant Stone tells Defendant Williams to stop talking
because he is uncertain whether someone is approaching his office.

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the conversation is difficult to pinpoint, 10 the recording gives the Court a glimpse

into the conduct of Defendants in this case which suggest two things to the Court.

       First, Defendants Stone and Williams’s comments provide an evidentiary

basis that hiring decisions throughout various DeKalb County departments may be

influenced by the preferences or policies of senior County officials. Second, the

recording suggests that when lower-level officials act inconsistently with those

preferences or policies there may be an enforcement mechanism in place to

confront those who make decisions independent of the preferences and policies set

by senior officials. The tone, language and content of Defendant Stone’s remarks

on the recording raise in the Court’s mind a troubling question regarding how hiring

decisions are made, how they are reviewed and scrutinized by senior County

management and the impact of that process on the employment decisionmaking in

the County. That the content of this conversation may be relevant to the issues in

this litigation is underscored by the fact that at one point during the conversation, in


       10
          The Court is uncertain whether the unintelligible contents of the tape
recording can be made clear using available audio enhancement technology. It
does not appear such efforts have been made with respect to the version of the
recording filed with the Court. As such, the Court has endeavored to listen closely
to the recording to discern as much of Stone and Williams’s conversation as
possible.

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discussing Defendant Jones’s alleged communication with Mr. Foster concerning

the promotion decision, Defendant Williams uses the phrase “racial

discrimination.”11

       The Court does not reach any conclusions regarding the existence or effect

of any preferences, policies or accountability mechanisms that may be in place in

the County. Rather, it simply believes the recorded conversation is a sufficient

basis to allow additional discovery into hiring practices and influences beyond the

Parks and Recreation Department to determine if broader polices and practices

affected the unit at issue. See generally Fed. R. Civ. P. 26(b) (“Parties may obtain

discovery regarding any matter, not privileged, that is relevant to the claim or

defense of any party . . . .”). Accordingly, the Court directs as follows:

       •      The parties in this case may conduct limited, additional discovery
              commencing on March 22, 2006, and ending on May 31, 2006.

       •      Discovery during this period should be confined to discovery
              regarding the tape-recorded conversation and the employment
              decisions discussed in that conversation, as well as written discovery


       11
          The transcription of the recording filed with the Court does not reflect
Defendant Williams’s use of this phrase. It was discovered by the Court upon
close review of the recording, and occurs approximately three minutes and twenty
seconds into the recording. Defendant Williams’s comments before and after this
phrase are unintelligible.

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              concerning County-wide employment demographics for the years
              2000 and beyond, including but not limited to a request for Defendants
              to produce the PeopleSoft-generated summaries requested by
              Plaintiffs in the Open Records Act proceedings.

       •      The parties are to confer and, on or before March 20, 2006, submit to
              the Court a detailed plan for the discovery to be conducted during this
              period. The plan should include a detailed description of the written
              discovery to be served, the specific witnesses sought to be deposed,
              and proposed dates for these depositions to be conducted.

       •      In the event disputes arise regarding the proper scope of this limited,
              additional discovery, the parties shall advise the undersigned’s
              courtroom deputy as well as file a joint statement of the dispute and
              request for hearing with the Court. The Court will review the matter
              and either issue a ruling or set down the matter for a hearing.

       E.     The Pending Motions for Summary Judgment

       On June 1, 2006, Defendants moved for summary judgment on the claims

asserted against them by Plaintiffs. Instead of a consolidated summary judgment

motion, each of the five Defendants filed separate summary judgment motions and

briefs with respect to each of Plaintiffs, resulting in the filing of a total of fourteen

(14) motions and briefs [142, 143, 144, 145, 146, 147, 148, 149, 150, 152, 153,

154, 155, 156].12 Each of these briefs is substantial in length, equaling or nearly



       12
         Defendants did file a single Joint Statement of Undisputed Material Facts
in Support of Their Motions for Summary Judgment [151].

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equaling the 25-page limit provided by the Local Rules, and a number of them

incorporate entire sections of other summary judgment briefs. (See, e.g., Def.

Jones’s Br. in Supp. of Mot. for Summ. J. as to Pl. Drake [148] at 11)

(incorporating Section III.D.1 of Def. Stogner’s Br. in Supp. of Mot. for Summ. J.

as to Pl. Drake). Plaintiffs filed consolidated responses to Defendants’ motions

[182, 183]. Again, instead of consolidated reply briefs, Defendants elected to file

individual reply briefs [189, 190, 191, 192, 193, 195, 196, 197, 198, 199, 200, 201],

each of which was substantial in length, and a number of which incorporate entire

sections of other reply briefs. (See, e.g., Def. Jones’s Reply Br. in Supp. of Mot.

for Summ. J. as to Pl. Bryant [198] at 7) (incorporating Section II.B.1 of Def.

Drew’s Reply Br. in Supp. of Mot. for Summ. J. as to Pl. Bryant). Finally, after

briefing on Defendants’ summary judgment motions was complete, the parties each

filed motions requesting the Court to consider certain supplemental case authority

issued by the Eleventh Circuit and the Supreme Court after their briefs were filed.

(See Pls.’ Mot. to Consider Supplemental Authority [206]; Pls.’ Am. Mot. to

Consider Supplemental Authority [207]; Defs.’ Mot. to Consider Supplemental

Authority [217].) These requests included a volley of arguments on what impact, if

any, the case authority issued by these courts have on the summary judgment

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arguments made by the parties in this case.

       Plaintiffs object to the manner in which Defendants’ summary judgment

arguments were presented to the Court. Specifically, Plaintiffs argue that Local

Rule 7.1(D) permits each group of Defendants -- “grouped” by the counsel

representing them -- to file only one (1) summary judgment brief totaling twenty-five

(25) pages, absent prior permission of the Court. (Pls.’ Mot. to Enforce Local

Rule 7.1(D) and Mot. for Expedited Consideration [140] at 2-3.) Under this

interpretation, Defendants were limited to three (3) summary judgment briefs.

       Local Rule 7.1(D) provides that “[a]bsent prior permission of the court,

briefs filed in support of a motion or in response to a motion are limited in length to

twenty-five (25) pages.” L.R. 7.1(D), N.D. Ga. The Court does not view this rule

as prohibiting each individual defendant in a case from filing a separate motion for

summary judgment. However, the manner in which the summary judgment motions

in this case were filed and the manner in which the arguments set forth therein were

cross-referenced and incorporated among other briefs unnecessarily complicates

the summary judgment proceedings. This structuring of summary judgment

briefing makes it more difficult for the parties, and the Court, to discern the issues

which must be resolved in order to process the case to a resolution. Moreover,

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when a party incorporates by reference an entire section of another brief, it is the

Court’s position that the incorporated section should count against the 25-page and

15-page limits set out in Local Rule 7.1(D). In several instances, Defendants’

incorporation of other brief sections in their initial briefs and reply briefs extend

their briefs well beyond the page limits provided by Local Rule 7.1(D). Added to

this already complicated web of arguments is the additional case authority, and

arguments concerning that authority, which the parties submitted in August and

November 2005.

       Having concluded that limited, additional discovery in this case is warranted,

the Court now must determine the proper mechanism for incorporating the

evidence obtained and arguments developed during this additional discovery into

the existing summary judgment proceedings. Considering the already muddled

state of the summary judgment briefing, the Court finds that requiring the parties to

file still more supplemental briefs, supplemental statements of disputed and

undisputed facts and supporting documents, and supplemental affidavits and

declarations, would only further complicate these proceedings. Instead, the Court

here enacts a summary judgment mechanism that allows for the full and complete

discussion of the facts and arguments at issue in this case, but also accommodates

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the parties’ and the Court’s need for an efficient and coherent presentation of these

issues. To that end, the Court directs as follows:

      •      Renewed motions for summary judgment in this case shall be filed on
             or before June 21, 2006.

      •      Each Defendant shall be permitted to file a single motion for summary
             judgment and brief in support thereof which addresses the claims
             asserted against him or her by all Plaintiffs, resulting in a total of four
             (4) summary judgment motions and briefs by Defendants. Plaintiff
             shall respond separately to each motion, and Defendants each shall file
             a reply brief in support of their motions, resulting in a total of four (4)
             reply briefs.

      •      The page limits for these briefs are as follows: 45 pages per initial
             summary judgment brief, 35 pages per response; and 20 pages per
             reply. The deadlines for the filing of response and reply briefs are the
             same as those set out in the Local Rules.

      •      As with their previous briefing, Defendants shall file a single, joint
             statement of undisputed material facts in support of their motions for
             summary judgment. If Plaintiffs wish to file a statement of material
             facts as to which they contend there are genuine issues to be tried,
             they shall file a single, joint statement of such facts.

      In view of the Court’s decision to permit limited, additional discovery, and

to provide for a new round of summary judgment briefing following the close of

this additional discovery, Defendants’ pending motions for summary judgment are

DENIED. In addition, because the case authority cited by the parties can be

addressed in their renewed motions for summary judgment and responses in

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opposition to them following the close of the limited discovery period described

above, the parties’ requests for the Court to consider this supplemental authority

are DENIED AS MOOT.

       F.     Conclusion

       Finally, the Court notes its concern about the manner in which this case is

being litigated. This is not routine litigation involving routine parties or counsel. On

each side are lawyers and litigants who should be aware of and guided by the fact

that this case involves the expenditure and exposure of public funds and claims

which affect the performance of public duties by public officials. On each side are

people who are aware that this matter requires each party and their lawyers to

litigate in a way that promotes fairness, justice, respects the private and public

reputations of people and ultimately results in the disclosure of true facts upon

which a just result may be based. The Court urges the parties and their counsel to

consider these responsibilities and objectives as this litigation proceeds. During

this process the Court will keep a watchful eye on the progress of the case so that

justice, and not the litigants’ or their lawyers’ self-interests, is served.

       For the reasons stated above,

       IT IS HEREBY ORDERED that Defendants Jones and Stogner’s Motion

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to Strike Affidavit of Eddie Moody [116], Plaintiffs’ Motion for Oral Argument

[220], and Plaintiffs’ second Motion to Strike Defendants’ Answers and for Other

Sanctions and, in the Alternative, Motion to Reopen Discovery and Stay

Consideration of Defendants’ Motions for Summary Judgment [221] are

DENIED, and that Plaintiffs’ Motion to Quash Defendant Jones’s Subpoena to

WSB-TV [132] and Defendants’ Motion to Permit the Filing of Declarations Under

Seal [224] are DENIED AS MOOT.

       IT IS FURTHER ORDERED that Defendant Jones’s Motion to

Withdraw Motion to Place Deposition Under Seal as Moot and Motion for

Imposition of Sanctions [137] and Defendants’ Motion to Strike the Affidavits of

Michael Amato, Shae Robinson and J. Tom Morgan [228] are GRANTED. The

Clerk is directed to strike Plaintiffs’ motion and related filings [219, 221, 223].

With respect to Plaintiffs’ Notice of Filing [222], the Clerk is directed to strike this

pleading but re-file the Notice of Filing itself (a four-page document), along with the

original of the DVD recording attached to the Amato Affidavit as Exhibit A. The

affidavits themselves and the other materials attached to the Notice of Filing shall

remain stricken and shall not be re-filed by the Clerk. To preserve the



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completeness of the record, Plaintiffs are directed to file on or before March 22,

2006, redacted copies of these stricken materials [219, 221, 222, 223] which do not

include or reference the alleged attorney-client communications cited by

Defendants.

      IT IS FURTHER ORDERED that Plaintiffs’ Motion to Strike

Defendants’ Answers and for Other Sanctions and, in the Alternative, Motion to

Reopen Discovery and Stay Consideration of Defendants’ Motions for Summary

Judgment [219] is GRANTED IN PART and DENIED IN PART. The parties

shall proceed with the limited, additional discovery and renewed summary judgment

briefing schedule set out in Sections D and E above.

      IT IS FURTHER ORDERED that, in view of the Court’s rulings

regarding additional discovery and renewed summary judgment briefing,

Defendants’ motions for summary judgment [142, 143, 144, 145, 146, 147, 148,

149, 150, 152, 153, 154, 155, 156] are DENIED. Plaintiffs’ Motion to Enforce

Local Rule 7.1(D) and for Expedited Consideration [140] and the parties’ motions

to consider supplemental case authority [206, 207, 217] are DENIED AS MOOT.




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SO ORDERED, this 10th day of March, 2006.




                             _______________________________
                             WILLIAM S. DUFFEY, JR.
                             UNITED STATES DISTRICT JUDGE




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